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STATE OF MINNESOTA                                                            DISTRICT COURT

COUNTY OF HENNEPIN                                              FOURTH JUDICIAL DISTRICT

                                                                  Court File No. 27-CV-20-14327
9PRW\P]lb, Inc.,                                                     CASE TYPE: CONTRACT
                                                                         Judge Patrick D. Robben
                                    Plaintiff,
vs.                                                         NOTICE OF FILING OF
                                                            NOTICE OF REMOVAL
>[^aXbcbl EdcdP[ A]bdaP]RT Company,
                                  Defendant.


TO:    District Court Administrator of the Fourth Judicial District, County of Hennepin, State of
       Minnesota, the Honorable Patrick D. Robben, and Plaintiff above-named and its counsel
       of record:

       PLEASE TAKE NOTICE THAT, on November 27, 2020, Defendant >[^aXbcbl EdcdP[

Insurance Company in the above-entitled action originally pending in the District Court for the

County of Hennepin, State of Minnesota, Fourth Judicial District, filed in the Office of the Clerk

of the United States District Court for the District of Minnesota a Notice of Removal to the

United States District Court pursuant to 28 U.S.C. §§ 1441, 1446, and 1332, a copy of which is

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       With this filing, this action now stands removed from the District Court for the County of

Hennepin, State of Minnesota, Fourth Judicial District, to the United States District Court for the

District of Minnesota. Defendant respectfully requests that the District Court Administrator of

this Court effectuate transfer of all necessary documents to the Clerk for the United States

District Court for the District of Minnesota and that no further proceedings take place before this

Honorable Court unless and until this action is subject to remand.
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                                           Respectfully submitted,

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Dated: November 27, 2020.            By:            s/ Dale O. Thornsjo               .
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                                           Lance D. Meyer (# 0393073)
                                           7401 Metro Boulevard, Suite 600
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                                           Attorneys for Defendant '035/676; )878*0
                                           Insurance Company
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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MINNESOTA

                                                 Civil File No. 20-CV-_______(___/___)
;SUZ_S`qe, Inc.,
                                Plaintiff,
vs.                                                 ./0/6.+6<U; NOTICE OF
                                                          REMOVAL
?^ad[efeq FgfgS^ B`egdS`UW <a_bS`k)

                              Defendant.


      Defendant ?^ad[efeq FgfgS^ B`egdS`UW Compank 'o?^ad[efeq FgfgS^p( hereby

removes this action from the District Court for the County of Hennepin, State of

Minnesota, Fourth Judicial District to the United States District Court for the District of

Minnesota pursuant to 28 U.S.C. §§ 1441 and 1446, and as grounds for its removal states

as follows:

                                 Statement of the Case

       1.     On November 6, 2020, Plaintiff ;SUZ_S`qe, Inc. 'o;SUZ_S`qep(

commenced this action against ?^ad[efeq FgfgS^) efk^WV &,-03,4<7$ )4- ;% (2561787<

Mutual Insurance Co., in the District Court for the County of Hennepin, State of

Minnesota, Fourth Judicial District, by serving ?^ad[efeq FgfgS^ with a copy of a

Summons and Complaint 'fZW oKfSfW <agdf 9Uf[a`p(+ (Declaration of Tom Richey, ¶ 2,

Ex. A (Complaint).)

       2.     On November 10, 2020, ;SUZ_S`qe filed the State Court Action in

Hennepin County District Court where it was assigned Case No. 27-CV-20-14327.




                                     EXHIBIT A
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       3.     Flod[efeq FgfgS^ ZSe not yet served an Answer to or moved to dismiss the

Complaint.

                              Background and Allegations

       4.     ?^ad[efeq FgfgS^ [e S` [`egdS`UW Ua_bS`k ebWU[S^[l[`Y [` bdah[V[`Y

business insurance coverage and risk management to horticultural and floral operations,

among others. (Richey Decl. ¶ 3.)

       5.     ;SUZ_S`qe bgdUZSeWV S Tge[`Wee [`egdS`UW ba^[Uk 'oIa^[Ukp( Xda_ ?^ad[efeq

Mutual, which Floristsq Mutual issued on February 1, 2020. (Richey Decl. ¶4.)

       6.     ;SUZ_S`qe <omplaint alleges that, as a result of COVID-.6) [f oiSe XadUWV

fa U^aeW [fe dWfS[^ efadWe S`V ^[_[f [fe iZa^WeS^W abWdSf[a`ep [` oebd[`Yf[_W /-/-+p (Richey

Decl., Ex. A at ¶ 5.) Bf XgdfZWd S^^WYWe fZSf ?^ad[efeq FgfgS^ VW`[WV UahWdSYW g`VWd fZW

Ia^[Uk Xad ;SUZ_S`qe S^^WYWV ^aeeWe+ 'Id. at n 4+( ;SUZ_S`qe SeeWdfe fia USgeWe aX

SUf[a`e Sd[e[`Y Xda_ ?^ad[efeq FgfgS^qe [`fWdbdWfSf[a` aX fZW Ia^[Uk S`V VWU[e[a` `af fa

provide coverage: breach of contract and a declaration of rights. (Id.)

                   Diversity Jurisdiction Under 28 U.S.C. § 1332(a)

       7.     This Court has jurisdiction over this matter under 28. U.S.C. § 1332(a)

TWUSgeW fZWdW [e Ua_b^WfW V[hWde[fk aX U[f[lW`eZ[b TWfiWW` ;SUZ_S`qe S`V ?^ad[efeq

Mutual and the amount in controversy exceeds $75,000, exclusive of interests and costs.

       8.     On information and belief, ;SUZ_S`qe a citizen of the State of Minnesota in

that it is a corporation organized and existing under the laws of the State of Minnesota

with its principal place of business in Minneapolis, Minnesota, because it alleges that it is


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oVa_[U[^WV [` F[``WeafS S`V ZWSVcgSdfWdWV [` F[``WSba^[e) PF[``WeafSQ+p (Richey Decl.,

Ex. A at ¶ 1.)

       9.        ?^ad[efeq FgfgS^ [e S citizen of the State of Illinois in that it is a mutual

insurance company organized and existing under the laws of the Illinois with its principal

place of business in Illinois. (Richey Decl. ¶ 5.)

       10.       ;SeWV a` fZW XSUfe S^^WYWV [` fZW <a_b^S[`f Se iW^^ Se ;SUZ_S`qe bdW-suit

dWbdWeW`fSf[a`e) i[fZagf SYdWW[`Y fZSf fZWk SdW fdgW ad fZSf ?^ad[efeq FgfgS^ [e W`f[f^WV fa

any damages or a dec^SdSf[a` aX UahWdSYW) ;SUZ_S`qe TW^[WhWe [` YaaV XS[fZ fZSf fZW

amount in controversy in this action exceeds $75,000, exclusive of interests and costs.

(See Richey Decl. ¶ 6, Ex. ; 'EWffWd Xda_ KgeS` ;SUZ_S` OWef) IdWe[VW`f aX ;SUZ_S`qe)

fa ?^ad[efeq FgfgS^ 'U^S[_[`Y fZSf ;SUZ_S`qe o[`UgddWV ^aee [e [` fZW Sbbdaj[_SfW dS`YW

aX %.+42 _[^^[a`) b^ge WjfdS WjbW`eWep)).

             All Procedural Requirements for Removal Have Been Satisfied

       11.       Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of all of the

process, pleadings, and orders from the State Court Action which have been served on

?^ad[efeq FgfgS^ SdW TW[`Y X[^WV as Exhibit A to the Declaration of Tom Richey.

       12.       This Notice of Removal has been filed within 30 days of November 6,

/-/-) fZW VSfW fZSf ?^ad[efeq FgfgS^ iSe eWdhWV i[fZ fZW Kg__a`e S`V <a_b^S[`f [` fZ[e

matter. (Richey Decl. ¶ 2.) Removal is therefore timely in accordance with 28 U.S.C.

§ 1446(b).




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       13.    The United States District Court for the District of Minnesota is the District

Court for the district embracing the entire State of Minnesota, including Hennepin

County where this action is currently pending. See 28 U.S.C. § 103. Venue is therefore

proper in this district pursuant to 28 U.S.C. § 1441(a).

       14.    Promptly after filing of this Notice of Removal, ?^ad[efeq FgfgS^ will cause

a copy thereof to be filed with the State Court and cause written notice of this Notice of

Removal to be served on ;SUZ_S`qe.

       15.    Defendant has paid the required filing fee and is filing a Civil Cover Sheet

simultaneously herewith.

       16.    ?^ad[efeq FgfgSl has a good and sufficient defense to this action.

       17.    By filing this Notice of Removal, Floristsq Mutual does not waive any

defenses that may be available to it in the State Court Action, and expressly denies any

coverage or liability for any damages alleged Tk ;SUZ_S`qe+

       18.    For these reasons, this action may be removed to this Court under 28 USC

§ 1446(a).

       WHEREFORE, Defendant Floristsq Mutual Insurance Company respectfully

removes the State Court Action into the United States District Court for District of

Minnesota.



                                           Respectfully submitted,

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Dated: November 27, 2020.       By:        s/ Dale O. Thornsjo                .
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